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Claudia Wilner

From:                              Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>
Sent:                              Monday, July 15, 2019 6:51 PM
To:                                Darius Charney
Cc:                                Claudia Wilner; Travis England
Subject:                           RE: BLRR v City of Buffalo


Still working on this, will respond further early tomorrow.

Think we need to discuss what the next step is, but I believe it would involve going through the lists to identify whether
the entry is responsive/discoverable first. I believe there should be ones that can be eliminated but we’d obviously have
to talk about that. We should also discuss what would be submitted to the Court (i.e., entire files, just complaints, etc.)
if we were able to agree on sending directly for in camera review. Thanks.

Rob Quinn.

From: Quinn,Robert E
Sent: Friday, July 12, 2019 5:24 PM
To: 'Darius Charney' <dcharney@ccrjustice.org>
Cc: Claudia Wilner <wilner@nclej.org>; Travis England <england@nclej.org>
Subject: RE: BLRR v City of Buffalo

329 hits for traffic in IA pro.

Big problem is that word is used in several unrelated/irrelevant contexts.

I’ll get back to you by Monday on the other two.


From: Darius Charney [mailto:dcharney@ccrjustice.org]
Sent: Friday, July 12, 2019 4:49 PM
To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>
Cc: Claudia Wilner <wilner@nclej.org>; Travis England <england@nclej.org>
Subject: Re: BLRR v City of Buffalo

Rob-

Thanks for sending these. We had a few follow-up questions and requests:

1. When you say that there were too many non-responsive traffic entries, exactly how many entries were there?
As you recall from the May 30 Court conference, the Judge specified that if the IA Pro search came up with 200
or less hits, Defendants are obligated to review all of those complaint files to identify those that are responsive.
So if the "traffic" query generated 200 or less entries, you are required to review all of those and to send us the
list of those that are responsive. So we ask that you confirm by Monday that you will do so.

2. Would Defendants be willing to run an IA Pro query for "Traffic Stop"?

3. We now want to to get clarity from you on what you envision to be the next step in the process of producing
the responsive IAD complaint files to us. You have mentioned several times on prior meet-and-confer phone
                                                              1
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calls and during the May 30 Court conference that 50-a requires the Court to review the files in camera and then
issue an order directing you to produce the relevant ones to us. Are we now at the stage where the complaints
listed in each of the Excel spreadsheets can be submitted to the Court for in camera review? If yes, then we ask
that you tell us by Monday the date when you will be ready to submit them for in camera review. If you do not
think we are yet at the stage of in camera review, then please tell us by Monday what else you think needs to
happen before you will be ready to submit the files to the Court for in camera review.

Darius



On Thu, Jul 11, 2019 at 8:04 PM Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us> wrote:

IAD is attached.



I did not provide traffic because I believe it overbroad and too many of the entries are non‐responsive. There were no
hits for “roadblock” or “road blocks”. I will hand deliver tomorrow.



Thanks.




From: Quinn,Robert E
Sent: Thursday, July 11, 2019 8:02 PM
To: 'Darius Charney' <dcharney@ccrjustice.org>
Cc: 'Claudia Wilner' <wilner@nclej.org>; 'Travis England' <england@nclej.org>
Subject: RE: BLRR v City of Buffalo




311 Part 2.




From: Quinn,Robert E
Sent: Thursday, July 11, 2019 8:01 PM
To: 'Darius Charney' <dcharney@ccrjustice.org>
Cc: 'Claudia Wilner' <wilner@nclej.org>; 'Travis England' <england@nclej.org>
Subject: RE: BLRR v City of Buffalo




311 attached. I will have to send in multiple emails due to size restrictions and hand deliver a copy on disk tomorrow.



I did not provide “traffic” because I believe it is overbroad and too many of the entries are non‐responsive.
                                                            2
